Case 3:23-cv-02224-E Document 1-1 Filed 10/06/23   Page 1 of 3 PageID 12




              EXHIBIT A
    Case 3:23-cv-02224-E Document 1-1 Filed 10/06/23               Page 2 of 3 PageID 13



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

D. REYNOLDS COMPANY, LLC      §
                              §
     Plaintiff,               §
                              §
V.                            §
                              § CIVIL ACTION NO.: _________
AGCS MARINE INSURANCE COMPANY §
                              §
     Defendant.               §


                                           INDEX

 EXHIBIT                DATE                               DESCRIPTION

     A-1              10/6/2023    Docket Sheet – Case No. DC-22-17459; D. Reynolds LP v.
                                   AGCS Marine Insurance; 160th Judicial District Court,
                                   Dallas County, Texas
     A-2              12/20/2022   Plaintiff’s Original Petition
     A-3              12/20/2022   Jury Demand
     A-4              1/3/2023     Issued Citation
     A-5              1/24/2023    Return of Service-Affidavit of Service (Served 1/12/2023)
     A-6              2/3/2023     Defendant’s Answer to Petition
     A-7              2/10/2023    Notice of Filing Notice of Removal to Federal Court
     A-8              3/7/2023     Dismissal for Want of Prosecution
     A-9              3/21/2023    Scheduling Conference
     A-10             3/28/2023    Docket-U.S. District Court, Northern District of Texas,
                                   Dallas Division, Civil Docket for Case No. 3:23-cv-00311-
                                   L – Closed
     A-11             3/28/2023    U.S. District Court Letter to File - Remand
     A-12             3/28/2023    Order on Remand
     A-13             5/4/2023     Mediator Courtenay L. Bass, Letter – Case Not Settled
     A-14             7/19/2023    Defendant’s Motion to Compel Complete Discovery
                                   Responses




759401.000214 4857-5095-1043.1
 Case 3:23-cv-02224-E Document 1-1 Filed 10/06/23        Page 3 of 3 PageID 14



EXHIBIT       DATE                               DESCRIPTION

  A-15      7/19/2023      Non-signed Order Granting Defendant’s Motion to Compel
                           Complete Discovery Responses (Unsigned)
  A-16      7/19/2023      Defendant’s Special Exceptions
  A-17      7/19/2023      Non-signed Order Granting Defendant’s Special Exceptions
  A-18      7/21/2023      Defendant’s Certificate of Conference for Motion to
                           Compel Complete Discovery Responses
  A-19      7/21/2023      Notice of Hearing – Motion to Compel and Special
                           Exceptions
  A-20      8/22/2023      Non-signed Scheduling Order (Level 3)
  A-21      8/25/2023      Scheduling Order - Level 3
  A-22      8/25/2023      District Clerk Letter – Scheduling Order Signed
  A-23      8/30/2025      Plaintiff’s First Amended Petition
  A-24      9/1/2023       Order Granting Defendant’s Special Exceptions
  A-25      9/1/2023       Order Granting Defendant’s Motion to Compel Complete
                           Discovery Responses
  A-26      9/5/2023       Submission Setting for Scheduling Conference
  A-27      9/5/2023       District Clerk Letter with Signed Order Granting
                           Defendant’s Special Exceptions
  A-28      9/5/2023       District Clerk Letter with Signed Order Granting
                           Defendant’s Motion to Compel Complete Discovery
                           Responses
  A-29      9/7/2023       Plaintiff’s Second Amended Petition
  A-30      9/29/2023      Defendant’s Answer to Plaintiff’s Second Amended
                           Petition
  A-31      8/19/2024      Jury Trial Setting Notice – 8/19/2024




                                      2
